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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 0:18-cv-61348- CIV-DIMITROULEAS


   SUSAN GOLDSTEIN

        Plaintiff,

   v.

   MSC CRUISES, S.A.,

        Defendant.
   __________________________________/

                                  DEFENDANT’S WITNESS LIST

   Presiding Judge               Plaintiff’s Attorney          Defendant’s Attorney
   Hon. William P.               See attached service list     See attached service list
   Dimitrouleas

   Trial Period                  Court Reporter                Courtroom Deputy
   September 9, 2019

   Witness                                              Address

   1.   Susan Goldstein                                 1311 Brightwater Ave., Apt. 2-B
                                                        Brooklyn, NY 11235

   2.   Janet Apter                                     2529 E 19th Street
                                                        Brooklyn, NY 11229

   3.   Francesca Montijp                               149 96th Street
                                                        Brooklyn, NY 11209

   4.   Vladinro Speranzer                              1698 Jefferson Avenue
                                                        Miami Beach, FL 33139

   5.   Mark Goldstein                                  1311 Brightwater Avenue #2B
                                                        Brooklyn, NY 11235

   6.   David P. Wills, P.E.*                           Exponent
                                                        4101 SW 71st Avenue
                                                        Miami, FL 33155


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   7.   Dr. Jerry S. Sher *                 International Orthopedic Specialists
                                            2260 NE 123rd Street
                                            North Miami, FL 33181

   8.   Records Custodian                   International Orthopedic Specialists
                                            2260 NE 123rd Street
                                            North Miami, FL 33181


   9.   Dr. Bruce Kohrman*                  South Miami Neurology LLC
                                            6200 Sunset Drive, Suite 305
                                            South Miami, FL 33143

   10.  Records Custodian                   South Miami Neurology LLC
                                            6200 Sunset Drive, Suite 305
                                            South Miami, FL 33143

   11.  Dr. Jeffery Marc                    Jeffrey C. Marc MD
                                            1711 Sheepshead Bay Road, Ste. B
                                            Brooklyn, NY 11235

   12.  Records Custodian                   Jeffrey C. Marc MD
                                            1711 Sheepshead Bay Road, Ste. B
                                            Brooklyn, NY 11235

   13.  Lesley Anne Warren, DPM, PA         Select Physical Therapy
                                            333 Arthur Godfrey Road, Suite 718
                                            Miami Beach, FL 33140

   14.  Records Custodian                   Select Physical Therapy
                                            333 Arthur Godfrey Road, Suite 718
                                            Miami Beach, FL 33140

   15.  Records Custodian                   Select Physical Therapy
                                            4016 Chase Ave.
                                            Miami Beach, FL 33140

   16.  Dr. Michael Thorpe                  Central Magnetic Imaging - North
                                            1860 NE Miami Gardens Drive
                                            North Miami Beach, FL 33179

   17.  Records Custodian                   Central Magnetic Imaging - North
                                            1860 NE Miami Gardens Drive
                                            North Miami Beach, FL 33179




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   18.  Dr. Michael Wittels                 Mount Sinai Medical Center
                                            1085 Kane Concourse
                                            Bal Harbor Island, FL 33154

   19.  Records Custodian                   Mount Sinai Medical Center
                                            1085 Kane Concourse
                                            Bal Harbor Island, FL 33154

   20.  Dr. Michael Wittels                 Wittels Orthopedic & Sports Medicine
                                            Center
                                            1085 Kane Concourse
                                            Bal Harbor Island, FL 33154

   21.  Records Custodian                   Wittels Orthopedic & Sports Medicine
                                            Center
                                            1085 Kane Concourse
                                            Bal Harbor Island, FL 33154

   22.  Dr. Lucien Alexandre                Mount Sinai Medical Center
                                            4302 Alton Road, Suite 840
                                            Miami Beach, FL 33140

   23.  Records Custodian                   Mount Sinai Medical Center
                                            4302 Alton Road, Suite 840
                                            Miami Beach, FL 33140

   24.  Dr. Nicholas D. Suite               Neurology, Diagnosis and Applied Solution,
                                            Inc.
                                            11420 N Kendall Drive, Suite 100
                                            Miami, FL 33176

   25.  Dr. Jeff Dreasel                    Neurology, Diagnosis and Applied Solution,
                                            Inc.
                                            11420 N Kendall Drive, Suite 100
                                            Miami, FL 33176

   26.  Records Custodian                   Neurology, Diagnosis and Applied Solution,
                                            Inc.
                                            11420 N Kendall Drive, Suite 100
                                            Miami, FL 33176

   27.  Dr. Marina Neystat                  Weill Cornell Medicine – Advanced
                                            Medical Care
                                            1117 Brighton Beach Avenue, 2nd Floor
                                            Brooklyn, NY 11235




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   28.  Records Custodian                   Weill Cornell Medicine – Advanced
                                            Medical Care
                                            1117 Brighton Beach Avenue, 2nd Floor
                                            Brooklyn, NY 11235

   29.  Dr. Simone Betchen                  Maimonides Medical Center
                                            4802 10th Avenue
                                            Brooklyn, NY 11219

   30.  Records Custodian                   Maimonides Medical Center
                                            4802 10th Avenue
                                            Brooklyn, NY 11219

   31.  Dr. Ashley Marcus                   Precision Care Medical Care and Sports
                                            Performance
                                            2781 Shell Road, Suite 101
                                            Brooklyn, NY 11223

   32.  Records Custodian                   Precision Care Medical Care and Sports
                                            Performance
                                            2781 Shell Road, Suite 101
                                            Brooklyn, NY 11223

   33.  Raymond Bartoli, D.C.               Raymond Bartoli Chiropractic
                                            1118 Avenue Y
                                            Brooklyn, NY 11235

   34.  Records Custodian                   Raymond Bartoli Chiropractic
                                            1118 Avenue Y
                                            Brooklyn, NY 11235

   35.  Brian Berliner, D.C.                Sheepshead Bay Chiropractic Center
                                            2572 East 15th Street
                                            Brooklyn, NY 11235

   36.  Records Custodian                   Sheepshead Bay Chiropractic Center
                                            2572 East 15th Street
                                            Brooklyn, NY 11235

   37.  Boris Shapiro, RPT                  Bosh Physical Therapy
                                            420 Lincoln Road, Suite 415
                                            Miami Beach, FL 33139

   38.  Records Custodian                   Bosh Physical Therapy
                                            420 Lincoln Road, Suite 415
                                            Miami Beach, FL 33139



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   39.  Dr. Evan Sorkin                     3000 Ocean Parkway #2g
                                            Brooklyn, NY 11235

   40.  Records Custodian                   Dr. Evan Sorkin
                                            3000 Ocean Parkway #2g
                                            Brooklyn, NY 11235

   41.  Records Custodian                   Fyzical Therapy
                                            2240 NE 123rd Street
                                            North Miami, FL 33181

   42.  Records Custodian                   Globe Drug Store
                                            405 86th St., Brooklyn, NY 11209

   43.  Records Custodian                   NJ Spine and Orthopedic
                                            545 5th Ave., Suite 1009
                                            New York City, NY 10017

   44.  Records Custodian                   Ocean Radiology
                                            3049 Ocean Parkway
                                            Brooklyn New York, 11235

   45.  Records Custodian                   CMS Medicare

   46.  Dr. Scott Tenner                    8616, 2211 Emmons Ave
                                            Brooklyn, NY 11235

   47.  Records Custodian                   South Beach Orthotics and Prosthetics
                                            975 Arthur Godfrey Rd., Suite 102
                                            Miami Beach, FL 33141

   48.  Supervisor                          Federal Board of Elections

   49.  Supervisor                          City of New York

   50.  Jose Alejandro Trujillo             Address Unknown

   51.  Spencer Hunsaker                    Address Unknown



   52.  MSC Staff Captain                   C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   53.  MSC Safety Officer                  C/O MSC Cruises, S.A., Via A.



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                                            Depretis, 31, 80133, Naples, Italy

   54.  MSC Asst. Safety Officer            C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   55.  Chief Security Officer              C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   56.  Deputy Purser                       C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   57.  Ship’s Doctor                       C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   58.  Ship’s Nurse                        C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   59.  Environmental Officer               C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   60.  Chief Security                      C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   61.  Domenico Ferrara                    C/O MSC Cruise Management (UK)
                                            United Kingdom

   62.  Georgios Dimakareas                 C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   63.  Chief Housekeeper                   C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   64.  Francis Didier Tsimaniry            C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   65.  Nepunan Gestoso Edgar Jr.           C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   66.  Assistant Chief Housekeeper         C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   67.  Rapetswan Nkagiseng aka “KG”        C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   68.  Iaschenko Anastasiia                C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy



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   69.  Guest Service Agent                 C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   70.  Sara Richetto                       C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   71.  Mellena Vladimirovna                C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   72.  Guest Services Agent                C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   73.  Azagen Sawmynaden                   C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   74.  Maria Florgelin Rabuga              C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   75.  Housekeeper                         C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   76.  Dani Jeffrey Izaguirre Santos       C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   77.  Assistant Housekeeper               C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   78.  Guest Relations Manager             C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   79.  Hotel Manager                       C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   80.  Accounting Manager                  C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   81.  MSC Master/Captain                  C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   82.  Concierge                           C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy

   83.  Corporate Representative*           C/O MSC Cruises, S.A., Via A.
                                            Depretis, 31, 80133, Naples, Italy




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   84.  Ryan Allain*                                C/O MSC Cruises, S.A., Via A.
                                                    Depretis, 31, 80133, Naples, Italy

   85.  Jeff Ramos*                                 C/O MSC Cruises, S.A., Via A.
                                                    Depretis, 31, 80133, Naples, Italy

   86.  Richard (Rick) Sasso                        C/O MSC Cruises (USA) Inc.,
                                                    6750 N. Andrews Ave, Suite 100

   87.  Records Custodian*                          C/O MSC Cruises, S.A., Via A.
        MSC Cruises, S.A.                           Depretis, 31, 80133, Naples, Italy

   88.  Classification Society Bureau Veritas       67/71 Boulevard du Chateau Corporate
        Representative                              92200 Nuilly
                                                    Sur Seine France

   89.  Records Custodian*                          C/O MSC Cruises (USA) Inc.,
        MSC Cruises (USA) Inc.                      6750 N. Andrews Ave, #100
                                                    Ft. Lauderdale, FL 33309

   90.  Records Custodian                           67/71 Boulevard du Chateau
        Classification Society Bureau Veritas       92200 Nuilly Sur Seine France
                                                    Edificio Century Tower
                                                    Ave. Ricardo J. Alfaro
                                                    (Tumba Muerto)
                                                    Panamá, República De Panamá

   91.  Corporate Representative*                   C/O West of England P&I
        West of England P&I                         One Creechurch Place
                                                    Creechurch Lane
                                                    London EC3A 5AF

   92.  Records Custodian*                          C/O West of England P&I
        West of England P&I                         Højskolevej 3
                                                    7400 Herning
                                                    Denmark

   93.  Corporate Representative*                   C/O Danks Wilton
           Dansk Wilton                             Højskolevej 3
                                                    7400 Herning
                                                    Denmark

   94.  Records Custodian*                          C/O Danks Wilton
        West of England P&I                         One Creechurch Place
                                                    Creechurch Lane
                                                    London EC3A 5AF



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   95.     All witnesses listed on Plaintiff’s witness list.

   96.     All persons deposed in this matter.

   97.     All persons identified in either party’s discovery responses.

   98.     All persons identified in any documents produced in this matter.

   99.     All persons identified on either parties’ Rule 26 disclosures (including amendments).

   100.   Impeachment witnesses.

   101.   All therapists, counselors, psychologists, social workers, physicians and nurses that
          treated or examined the Plaintiff.

   *Witnesses identified with an asterisk (*) are those whom Defendant expects to present, while all
   other witnesses may be presented if the need arises.

   Defendant also reserves the right to call impeachment witnesses, and any and all witnesses on
   Plaintiff’s witness list. Defendant reserves the right to amend and/or supplement this list as
   necessary through trial.


                                                   Respectfully Submitted,
                                                   MALTZMAN & PARTNERS, P.A.
                                                   By:     /s/ T. Alexander Devine
                                                           Jeffrey B. Maltzman, Esq.
                                                           Florida Bar No. 48860
                                                           jeffreym@malzmanpartners.com
                                                           Steve Holman, Esq.
                                                           Florida Bar No. 547840
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                                                           T. Alexander Devine, Esq.
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                                                           alexd@maltzmanpartners.com
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                                                           Fax: 305-779-5664




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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the
    Court via CM/ECF on this 9th day of August 2019. I also certify that the foregoing was served on
    all counsel or parties of record on the attached Service List either via transmission of Notices of
    Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or
    parties who are not authorized to receive electronic Notices of Filing.
                                                         By:     /s/ T. Alexander Devine
                                                                 T. Alexander Devine, Esq.
                                                                 Florida Bar No. 10052




                                          SERVICE LIST
                                       CASE NO.: 18-CV-61348

       Spencer Aronfeld, Esq.                            Jeffrey B. Maltzman, Esq.
       Aronfeld@Aronfeld.com                             jeffreym@maltzmanpartners.com
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       3132 Ponce de Leon Boulevard                      alexd@maltzmanpartners.com
       Coral Gables, Florida 33134                       MALTZMAN & PARTNERS, P.A.
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       Fax: 305-441-0198                                 Coral Gables, FL 33134
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                                                         Fax: 305-779-5664
                                                         Attorneys for Defendant




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